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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA




DMITRI MEHLHORN,

                    Plaintiff,                 Case No. 1:24-mc-00101 (EGS)

              -v.                              Underlying Litigation:
                                               No Labels v. NoLabels.com Inc.,
NO LABELS,                                     No. 23 Civ. 1384 (D. Del)

                    Defendant.



        REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
         DMITRI MEHLHORN’S MOTION TO QUASH NO LABELS’
       NON-PARTY SUBPOENA OR MOTION FOR PROTECTIVE ORDER




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       For a group called No Labels, Defendant sure likes to put labels on things. People who

advocate for their genuinely held beliefs are “operatives,” Opp. 1, 3, 13, 16, 17; 1 people who

associate with others in the service of those beliefs are “conspiring,” Opp. 10; and, of course,

anyone who organizes against No Labels is a “criminal,” DOJ Letter at 1, 6. No Labels amps up

the rhetoric because it cannot overcome the First Amendment protections (and non-party

protections) that bar its subpoena. The Opposition also picks out and repeats a few bombastic

phrases from emails written to—not by—Mr. Mehlhorn. But courts do not invade individuals’

First Amendment rights based on “strong language”; they require a showing of actually “unlawful

conduct.” NAACP v. Claiborne Hardware Co., 458 U.S. 886, 928 (1982). And the only unlawful

conduct alleged in the Delaware Action is the promulgation of the short-lived www.nolabels.com

website. In all the Opposition’s lengthy discussion of the discovery taken to date—including party

discovery and depositions of three non-parties—the most striking fact is the complete absence of

any suggestion that Mehlhorn was actually involved in (or even knew of) the creation or operation

of that website.

       Instead, the record reflects politically-minded citizens taking part in associational activity

to express their profound disagreement with No Label’s political strategy around an attempted

2024 presidential ticket. That is quintessential First Amendment activity, and it is telling that the

Opposition does not address the First Amendment until page 17, and then devotes 2 pages to it.

Nor does No Labels try to defend its effort to have its political opponents investigated by the

Justice Department, or deny that its goal here is to exact retribution against its political opponents.




1
 “Opp.” or “the Opposition” refers to No Labels’ Opposition to Dmitri Mehlhorn’s Motion to
Quash No Labels’ Non-Party Subpoena or Motion for Protective Order, ECF 7-1, 8. “Mot.” or
“Motion” refers to the Memorandum of Law in Support of that Motion, ECF 1-1. Capitalized terms
have the meaning given to them in the Motion, unless indicated otherwise.
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       Given the clear impermissibility of No Labels’ subpoena under this Circuit’s precedent

(binding in the jurisdiction where Mehlhorn engages in associational political activity, and where

compliance is sought), the Opposition asks this Court to transfer this action to the District of

Delaware. But no exceptional circumstances justify transfer. Mehlhorn’s motion presents a pure

question of law to be resolved based on settled First Amendment principles, not on factual

“complexities” of the underlying Delaware Action (which is, by any measure, straightforward).

Under Rule 45, Mehlhorn is entitled to vindicate his First Amendment rights where he spoke.

                                         ARGUMENT

I.     The Subpoena Requires Production of Material Protected by the First Amendment

       The Mehlhorn Subpoena targets information at the core of First Amendment protection,

including private discussion of political tactics, the attendee lists and minutes of confidential

strategy meetings, information about donors, and communications with like-minded individuals

and organizations—all of which this this Circuit has long protected from disclosure, especially

when such disclosure is sought from non-parties. Mot. 8-13. The Opposition concedes that No

Labels seeks communications protected by the First Amendment. Opp. 17. It has not a word to say

about the fact that No Labels urged the Department of Justice to prosecute Mehlhorn and like-

minded individuals opposed to No Labels for their political activity, see Mot. 2, 14 (citing DOJ

Letter). And the Opposition does not address (let alone contest) the burden that the Mehlhorn

Subpoena threatens to impose on the speech, collaboration, and advocacy efforts of IIU

participants, partners, and donors. See Mot. 14 (citing Mehlhorn Decl. ¶¶ 26, 29-30).

       Further, while the Opposition acknowledges that, in order to overcome First Amendment

protection, No Labels bears the burden to prove that the protected information it seeks is not only

relevant but goes to “the heart of,” and is “crucial to,” its Delaware Action, Mot. 14 (quoting

Wyoming v. U.S. Dep’t of Agric., 208 F.R.D. 449, 453, 455 (D.D.C. 2002)), it makes no attempt


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to meet that standard. Far from pointing to specific evidence at “the heart of,” or “vital to,” its

claims, No Labels makes the conclusory statement that Mehlhorn may possess information that

could “flesh out a pattern of facts already known” to No Labels. Opp. at 2, 5, 18 (quoting In re

Mot. to Compel Compliance with Subpoena Direct to Dep’t of Veterans Affs., 257 F.R.D. 12, 17

(D.D.C. 2009)). That is not enough to burden a non-party, especially not over clear-cut First

Amendment rights. See Dep’t of Veteran Affs., 257 F.R.D. at 19 (quashing subpoena as unduly

burdensome).

        Rather than confront the fatal First Amendment problem that dooms No Labels’ Subpoena,

the Opposition makes three efforts to dodge it. All three fail.

        First, the Opposition misses the point entirely when it argues that the First Amendment

does not protect a right to anonymity to mask the infringement trademarks. Opp. 17. Mehlhorn—

whose name captions this action—does not claim any right to remain anonymous. Rather, he

invokes the distinct First Amendment right not to be compelled to disclose his political strategy,

associations, and donor information to his political opponent, in an election year, a right this Circuit

has repeatedly recognized. See, e.g., AFL-CIO v. FEC, 333 F.3d 168, 177-78 (D.C. Cir. 2003);

Black Panther Party v. Smith, 661 F.2d 1243, 1265-66 (D.C. Cir. 1981); Int’l Union, United Auto.

Workers v. Nat’l Right to Work Found., 590 F.2d 1139, 1147-48 (D.C. Cir. 1978). The Opposition

cites a single, irrelevant in-circuit case, Opp. 18, which granted a request to unmask anonymous

defendants who unlawfully downloaded plaintiff’s movie, reasoning that obtaining free movies

was only minimally “expressive activity,” Call of the Wild Movie, LLC v. Does 1-1,062, 770 F.

Supp. 2d 332, 349, 353-54 (D.D.C. 2011). That precedent simply has no application here. And the

Opposition’s out-of-circuit cases are even farther afield. See Everytown for Gun Safety Action

Fund, Inc. v. Defcad, Inc., No. 21-CV-8704, 2021 WL 5232581, at *1-2 (S.D.N.Y. Nov. 9, 2021)

(denying stay of expedited discovery into anonymous defendants that downloaded plaintiff’s


                                                   3
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trademarked files); Arista Recs., LLC v. Doe 3, 604 F.3d 110, 114, 119, 124 (2d Cir. 2010)

(upholding denial of motion to quash subpoena to internet service provider for identities of

defendants that illegally downloaded music).

       Second, the Opposition suggests that the allegation of trademark infringement in the

Delaware Action exempts No Labels’ subpoena from the strictures of the First Amendment. Opp.

6, 18. But Mehlhorn is not a party to the Delaware Action, and No Labels has not alleged any

infringement on his part. The Opposition suggests that it should get to take the discovery first, and

offer a basis later, see Opp. 18, but that is backward: as a matter of law, a non-party subpoena may

not be used to “gather information for use in evaluating, and perhaps litigating, a claim against [a

non-party],” Phillips & Cohen, LLP v. Thorpe, 300 F.R.D. 16, 18 (D.D.C. 2013); see Mot. 20-21.

       The Opposition insists that “the suspicion” of some “infringing conduct” on Mehlhorn’s

part “is not unfounded,” Opp. 17-19, but the facts say otherwise. To start, No Labels does not

question Mehlhorn’s sworn statement that he had “no involvement in the formation of

Nolabels.com Inc., the purchase of the nolabels.com domain, or the creation of the website at the

nolabels.com domain.” Opp. 6 (quoting Mehlhorn Decl. ¶ 10). Nor could it. The Opposition cites

to several proposals Mehlhorn received about No Labels, but none mention the Domain. See, e.g.,

Exs. A, B & U to Decl. of M. Lytle. 2 No Labels has also now deposed the three individuals who

admit to creating the website at the center of the Delaware Action. Exs. E, P, X to Decl. of M.

Lytle. Yet No Labels does not point to any evidence that Mehlhorn knew about—let alone

participated in—the website’s purchase, creation, or contents. See Opp. 11; e.g., Ex. P at 62:24-

63:4, 71:24-72:6, 137:1-6, 224:2-9; Ex. X at 20:4-8, 23:12-16, 27:19-25. Much of the Opposition




2
 The Opposition also claims that “Mehlhorn … delivered a proposal to Caldwell to help bring this
plan to fruition,” Opp. 16, but that claim is uncited, and the record demonstrates only that Caldwell
delivered proposals to Mehlhorn, e.g., Exs. A, B, U to Decl. of M. Lytle.

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focuses on a pitch deck about the contents of the Domain, yet No Labels never alleges that

Mehlhorn even saw this pitch deck. Opp. 4. No Labels does not claim Mehlhorn provided funding

for the purpose of developing or maintaining the website, or even that he increased funding at the

time the website was created. On these facts, No Labels cannot hang its subpoena on an imagined

claim that Mehlhorn knowingly contributed to the alleged infringement. See Basketball Mktg. Co.

v. FX Digital Media, Inc., 257 F. App’x 492, 495 (3d Cir. 2007) (“Inadvertent participation in

infringing activities does not give rise to contributory liability.”). 3




                                                               -
        Third, the Opposition contends that Mehlhorn and those he associates with are not entitled

to First Amendment protections because their aim was to                    No Labels’ political brand—

to make it                                                            “to create a social stigma around

[No Labels],” and to “shame” its donors and supporters, all with the intent “to steer voters, donors,

officials, and the public away from No Labels.” Opp. 1, 3, 10, 17. First, none of these words are

attributable to Mehlhorn. Indeed, throughout the entire Opposition, not a single quote that No

Labels points to as evidence of infringing intent is attributable to Mehlhorn; nor is a single quote

that mentions the Domain. Moreover, to the extent Mehlhorn and others otherwise sought to “steer

voters, donors, officials, and the public away from No Labels[,]” Opp. 1, a plan to discredit and

defeat one’s political opponent is not illegal. It represents typical (and protected) “political rough-




3
  The Opposition’s uncited assertion that “[t]he First Amendment does not protect ‘speech’ that
violates the Lanham Act,” Opp. 6, is further belied by any number of court decisions invalidating
the Lanham Act’s application to protected speech, see, e.g., Matal v. Tam, 582 U.S. 218, 223
(2017); Iancu v. Brunetti, 588 U.S. 388, 390 (2019). Indeed, this Circuit (like every circuit to
address the issue) has held that the Lanham Act applies only to commercial speech and not to a
claim of trademark infringement that rests on political speech. See Farah v. Esquire Mag., 736
F.3d 528, 541 (D.C. Cir. 2013) (misleading parody article “was political speech aimed at critiquing
[public individuals’] position”); Nichols v. Club for Growth Action, 235 F. Supp. 3d 289, 298-99
(D.D.C. 2017) (Lanham Act did not apply to “political speech expressing a point of view, [as
opposed to] commercial speech”).

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and-tumble—i.e., that each side wants to present itself as credible and the other as not.” Vindman

v. Trump, No. 22-CV-257, 2022 WL 16758575, at *9 (D.D.C. Nov. 8, 2022).

       To be clear, the First Amendment does not shield only political activity that is polite or that

accords with No Labels’ subjective sense of fair play. Indeed, “[t]he language of the political

arena … is often vituperative, abusive, and inexact.” Watts v. United States, 394 U.S. 705, 708

(1969). And “[s]peech does not lose its protected character … simply because it may embarrass

others or coerce them into action.” Claiborne Hardware, 458 U.S. at 910. In case after case, the

Court has protected speech that advances a political goal through “social pressure,” “‘coercive’

speech,” and even “‘threats’ of ‘social ostracism, vilification, and traduction.’” Id. at 910-11, 921;

see Org. for a Better Austin v. Keefe, 402 U.S. 415, 419 (1971) (“The claim that the expressions

were intended to exercise a coercive impact on respondent does not remove them from the reach

of the First Amendment.”). 4

       Indeed, courts in this Circuit regularly extend First Amendment protection to political

speech and partisan tactics that others find to be crude, offensive, or untoward. See, e.g., Thomas

v. News World Commc’ns, 681 F. Supp. 55, 65 (D.D.C. 1988) (“Plaintiffs may well confuse

political opposition with malice. … [L]anguage referring to ‘garbage,’ ‘bums,’ and ‘lunatics’ is

certainly strong. Yet, such language reflects … the timbre of argument characteristic of a robust

political press addressing public figures ….”); Liberty Lobby, Inc. v. Dow Jones & Co., 838 F.2d

1287, 1300 (D.C. Cir. 1988) (“[W]hat is a crude and ugly appeal to some, may be forthright and

vigorous advocacy to others.”); Donald J. Trump for President, Inc. v. WP Co. LLC, No. 20-CV-



4
 The alleged “coordinated effort to destroy No Labels brand,” Opp. 16; Ex. A to Decl. of M. Lytle,
apparently spanned a wide array of First Amendment–protected activity, e.g., Cal. Motor Transp.
Co. v. Trucking Unlimited, 404 U.S. 508, 510-11 (1972) (petitioning courts and agencies);
Metromedia, Inc. v. City of San Diego, 453 U.S. 490, 493, 521 (1981) (billboard campaign);
Citizens United v. FEC, 558 U.S. 310, 370-71 (2010) (publicizing public donor information).


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626, 2023 WL 1765193, at *7 (D.D.C. Feb. 3, 2023) (“hyperbolic and colorful tone … is typical

fare one finds in ‘heated political debate’ and criticism about a presidential candidate”).

       In short, “‘[p]olitics is a rough-and-tumble game, where hurt feelings and thwarted

ambitions are a necessary part of robust debate. It is impossible to imagine the judiciary attempting

to decide when a politically retaliatory step goes “too far” without displacing the people’s right to

govern their own affairs and making the judiciary just another political tool for one faction to wield

against its rivals.’” Gonzales v. Madigan, 990 F.3d 561, 564 (7th Cir. 2021) (dismissing claim that

political candidate’s opponents conspired to place sham candidates on ballot) (quoting Jones v.

Markiewicz-Qualkinbush, 892 F.3d 935, 939 (7th Cir. 2018)). Put another way: “Those who step

into areas of public dispute … must be willing to bear criticism, disparagement, and even

wounding assessments. Perhaps it would be better if disputation were conducted in measured

phrases and calibrated assessments, and with strict avoidance of the ad hominem …. But that is

not the world in which we live, ever have lived, or are ever likely to know, and the law of the first

amendment must not try to make public dispute safe and comfortable for all the participants.”

Ollman v. Evans, 750 F.2d 970, 993 (D.C. Cir. 1984) (Bork, J., concurring).

II.    No Labels Cannot Justify the Undue Burden to a Non-Party

       The subpoena also founders on basic discovery rules, and the Opposition’s efforts to defend

it rely on the wrong legal standard and describe a case that No Labels has not brought. As to the

standard, the Opposition cites the typically broad scope of discovery under Rule 26, Opp. 17, but

does not address the specific rules and principles that govern discovery from non-parties, Mot. 18-

19 (citing Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019); Wyoming, 208 F.R.D.

at 452). For one, No Labels is obligated to first seek documents through party discovery before it

burdens non-party Mehlhorn. Mot. 16-17. Yet No Labels does not tell the Court what documents

it has sought or obtained in the Delaware Action or provide any basis for its apparent belief that


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Mehlhorn possesses communications that No Labels cannot obtain elsewhere. And No Labels does

not dispute that some of its requests exceed the scope of discovery that the Special Master has

allowed against the actual Defendant in the Delaware Action. Mot. 16.

       No Labels also tries to reshape the case it brought and from which the subpoena arises.

Although every claim in the Delaware Action relates directly to the Domain, Compl. ¶¶ 38-68, the

Opposition now disclaims that the Delaware Action “is only about the mechanics of the

Nolabels.com website” and identifies the website as “only the most public manifestation of the

coordinated attempt to intentionally misrepresent [No Labels].” Opp. 6. But, again, courts in this

Circuit do not enforce subpoenas on the basis of hypothetical lawsuits not yet filed or on the chance

that a non-party will later face a claim. See Phillips & Cohen, 300 F.R.D. at 19; AF Holdings, LLC

v. Does 1-1058, 752 F.3d 990, 995 (D.C. Cir. 2014). 5

       On the other side of the scale, while No Labels pays lip service to the notion that courts in

this Circuit must be especially “sensitive” to costs imposed on non-parties, Mot. 22 (quoting In re

Micron Tech., Inc. Sec. Litig., 264 F.R.D. 7, 9 (D.D.C. 2010)), the Opposition spends no time

addressing the undue burden of its subpoena to Mehlhorn, including substantial costs to collect

and review potentially relevant documents, a process that is further complicated by the First

Amendment and attorney-client privileges at play. See Mot. 21-22; Mehlhorn Decl. ¶¶ 31-35.

       That burden is not solved by No Labels’ purported attempt to narrow its requests, which

remain extraordinarily broad. 6 For example, No Labels requests a search for all documents and


5
 And, as is relevant to transfer, infra pp. 11-12, Judge Williams and Special Master Brauerman of
course have no “unique” insight into causes of action that No Labels has not brought in the
Delaware Action. Contra Opp. 13.
6
 As described in Mehlhorn’s Motion, No Labels acknowledged in a meet and confer session, Mot.
7; Decl. of John C. Quinn ¶ 4, and concedes again in its Opposition, that even its purportedly
narrowed requests do not attempt to limit the Mehlhorn Subpoena to documents and


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communications of “(‘No Labels’ OR ‘NL’) /10 trump” and “/10 MAGA,” Opp. 21-22, which is

highly likely to produce First Amendment–protected communications given that Mehlhorn’s

organizing against No Labels was motivated by his belief that No Labels’ candidacy was likely to

help reelect former President Trump, see Mehlhorn Decl. ¶ 5. And requests for “No Labels” or

“NL” within 10 words of negative adjectives like “problematic,” “fringe,” “extreme,” and “crazy,”

Opp. 22, are similarly geared toward obtaining frank political discussions between Mehlhorn and

those he associates with about No Labels—not unique evidence of actionable infringement. 7

Moreover, No Labels continues to request the entirety of Request 3, Opp. 20, which includes all

mentions of No Labels between Mehlhorn and individuals and groups with which he associates,

without any connection at all to the allegedly infringing website.

       The wide-ranging nature of No Labels’ fishing expedition is alone enough to quash its

subpoena. But the lack of any reasonable fit between the conduct at issue in the Delaware Action

and No Labels’ proposed search terms is further reason to quash the subpoena on First Amendment

grounds.




“communications relating directly to Plaintiff’s claims.” Opp. 23. Instead, No Labels continues to
insist that it can also seek documents related to its theory of a “targeted and coordinated effort to
destroy the No Labels’ brand” perpetrated by “various political operatives,” id., including several
individuals and groups who, like Mehlhorn, are not parties to the Delaware Action. This is, of
course, the subject of No Labels’ unacknowledged DOJ Letter, rather than any cybersquatting or
trademark infringement claim alleged in the Delaware Action. No Labels’ mention of attempted
narrowing is further undercut by its refusal to engage in any negotiation of search terms beyond
its own proposal, and its abrupt declaration that the parties had reached “an impasse” before even
answering Mehlhorn’s clarifying questions about custodians and platforms. Mot. 8; M&C Exch.
at 9-10.
7
 These requests are not justified merely because the word “problematic” appeared in a pitch deck
that No Labels has not even alleged that Mehlhorn saw. Opp. 22. Moreover, as explained above,
supra pp. 5-7, these searches are not relevant simply because No Labels disagrees with (or is
offended by) these descriptions of its political positions.

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III.    No Exceptional Circumstances Justify Transfer

        Given the clear impermissibility of No Labels’ subpoena under this Circuit’s precedent, it

is no surprise that the Opposition asks this Court to transfer Mr. Mehlhorn’s action to the District

of Delaware. But the Federal Rules of Civil Procedure impose “a presumption that subpoena-

related disputes be litigated in the district designated for compliance.” FDIC v. Galan-Alvarez,

No. 15-MC-752, 2015 WL 5602342, at *3 (D.D.C. Sept. 4, 2015). And so, under Rule 45, this

Court may transfer a motion to the issuing court only under “exceptional circumstances.” Fed. R.

Civ. P. 45(f). “The prime concern should be avoiding burdens on local nonparties subject to

subpoenas, and it should not be assumed that the issuing court is in a superior position to resolve

subpoena-related motions.” Fed. R. Civ. P. 45(f) advisory committee’s note to 2013 amendment;

see also id. (“To protect local nonparties, local resolution of disputes about subpoenas is assured

by the limitations of Rule 45(c) ….”). And “the proponent of transfer bears the burden of showing

that such circumstances are present.” Id.

        No Labels does not meet that burden here. Mehlhorn’s motion to quash is not about the

details of the Delaware Action, but about whether the First Amendment permits No Labels to use

its narrow trademark claim to chase the internal strategies and communications of its political

opponents. Mehlhorn is entitled under Rule 45 to vindicate his rights in his home jurisdiction,

where he works and advocates. See In re I.M. Wilson, Inc., No. 21-MC-122, 2022 WL 1239905,

at *2 (D. Del. Apr. 27, 2022) (denying transfer where subpoena recipient “has organized itself

under the laws of Delaware and has an interest in resolving this dispute locally”).

        Indeed, the First Amendment’s fundamental limits on non-party discovery of political

communications presents exactly the kind of pure question of law that courts in this Circuit find

to be inappropriate for transfer. E.g., Hood v. City of Chicago, No. 19-MC-123, 2019 WL 5295169,

at *3 (D.D.C. Oct. 18, 2019) (denying transfer and quashing subpoena where objection was based


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on reporter’s privilege under First Amendment, even where underlying litigation “has been

pending for several years and the court has ruled on a number of discovery motions in that time”);

Galan-Alvarez, 2015 WL 5602342, at *1-3 (denying transfer and quashing subpoena that

presented “a legal question severable from the merits of the underlying litigation,” even where

transferee court was “intimately familiar with” the case and had “already issued two discovery

orders”); In re Subpoena Served on Clark Realty Cap., L.L.C., No. 23-MC-49, 2023 WL 8005096,

at *2 (D.D.C. Nov. 17, 2023) (“This is not a complex issue requiring a transfer.”).

       The Opposition observes that the District of Delaware is more familiar with the facts of No

Labels’ trademark claims against Nolabels.com Inc. Opp. 13. But given that the transferee court

will always have greater familiarity with the case it is overseeing, that is hardly an exceptional

circumstance. See 9A Wright & Miller, Federal Practice & Procedure § 2463.1 (3d ed.) (“The

‘exceptional circumstances’ standard was selected to ensure that transfer is a rare event.”). If that

were enough, then in every case “the [transfer] exception would swallow the rule” in favor of local

resolution of subpoena motions. Isola USA Corp. v. Taiwan Union Tech. Corp., No. 12-CV-01361,

2015 WL 5934760, at *3 (D. Mass. June 18, 2015), R&R adopted, 2015 WL 5944286 (D. Mass.

Feb. 2, 2015).

       No Labels also points to the entry of a standard protective order, Opp. 13-14, which is

before this Court in its entirety, Ex. C to Decl. of M. Lytle. But No Labels offers no explanation

for why the order weighs on the merits of Mehlhorn’s First Amendment privilege or affects this

Court’s ability to protect that privilege. The protective order is an especially poor excuse to transfer

given No Labels’ request to this Court to “remove the ‘Confidential’ designations” on those

documents relevant to deciding this motion. Opp. 2.

       At bottom, the Delaware Action is not exceptionally complex. It involves a single suit

between two parties, a total of three claims (one for cybersquatting and two for trademark), and it


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was filed only nine months ago. See Compl. ¶¶ 38-68; Lipman v. Antoon, 284 F. Supp. 3d 8, 11

(D.D.C. 2018) (Sullivan, J.) (“a year … is much shorter than other cases warranting transfer”). To

be sure, the District of Delaware has resolved several discovery disputes. But No Labels has not

identified any pending non-party disputes in the Delaware Action that could conflict with this

Court’s granting of Mehlhorn’s motion. And Special Master Brauerman’s oral resolution of a

consultant-client confidentiality objection during a deposition (one that Mehlhorn did not raise in

written objections to the subpoena) is hardly grounds for inconsistency. Ex. E to Decl. of M. Lytle

at 104:24-106:12. Indeed, inconsistent results are especially unlikely here given that five identical

subpoenas are centralized before this Court. See Third Way v. No Labels, No. 24-MC-97 (D.D.C.

Aug. 6, 2024), ECF 2.

       Left unaddressed in the Opposition is the “prime concern” of Rule 45: the burden of

transfer to Mehlhorn. Because No Labels carries the burden to justify transfer, Mehlhorn need not

identify any burden to himself. See In re Subpoena on Sorrento Therapeutics, Inc., No. 17-CV-

2442, 2018 WL 788899, at *3 (S.D. Cal. Feb. 8, 2018). But the burden here to Mehlhorn far

exceeds the burden in cases where this Court has transferred subpoenas. Mehlhorn is a natural

person, not a corporate entity with a wide litigation footprint; he does not have Delaware counsel;

and there is no overlap between counsel in this action and counsel in the Delaware Action. Contra

Lipman, 284 F. Supp. at 9, 11 (same counsel in both actions); XY, LLC v. Trans Ova Genetics,

L.C., 307 F.R.D. 10, 12 (D.D.C. 2014) (recipient was “a national corporation rather than an

individual resident of the local jurisdiction”). 8 Mehlhorn also has not participated in any way with



8
  The Opposition does not cite any analogous case. Opp. 12-13. In Wultz v. Bank of China, Ltd.,
Israel moved to quash a subpoena related to six other cases that had been pending in New York
for five years and raised “highly complex and intricate” questions arising out of a series of terrorist
attacks. 304 F.R.D. 38, 40, 46 (S.D.N.Y. 2014); see also Hood, 2019 WL 5295169, at *3
(distinguishing Wultz). And in In re Braden, one subpoena recipient actually requested transfer;


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the Delaware Action. Contra In re Subpoena to National Academy of Sciences, 347 F.R.D. 45, 49

(D.D.C. 2024) (noting that subpoena recipient “participated in [the underlying action] discovery

conferences and observed [a] deposition … demonstrating familiarity with the litigation at issue.”)

         Ultimately, No Labels’ desire to get out of this Court does not “outweigh the interests of

the nonparty served with the subpoena in obtaining local resolution of the motion.” Fed. R. Civ.

P. 45(f) advisory committee’s note to 2013 amendment.

                                          CONCLUSION

         For the foregoing reasons, and the reasons set forth in Mehlhorn’s opening brief, the Court

should quash No Labels’ non-party subpoena or, in the alternative, enter a protective order. 9



    Dated: September 4, 2024                               ___________________________
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the court emphasized “the underlying action’s complexity” in which “Plaintiffs ha[d] asserted a
theory that is on the cutting edge of constitutional law”; and the relevance objections to the
subpoena raised highly fact-bound questions. 344 F. Supp. 3d 83, 85, 91, 93 (D.D.C. 2018).
9
 Mehlhorn has not asked this Court to quash any subpoena received by Rae Steward, including
ostensibly on behalf of IIU, which (in any event) would need to be resolved in the district where
compliance is required. Opp. 3 n.2; Fed. R. Civ. P. 45(d)(3). As Mehlhorn explained in his
declaration, IIU is “an un-incorporated association of individuals.” Mehlhorn Decl. ¶ 3.

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                                       * pro hac vice pending

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